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Exclusive: FBI probes use of Israeli ﬁrm's spyware in personal
and government hacks - sources

Joseph Menn, Jack Stubbs



(Reuters) - The FBI is investigating the role of Israeli spyware vendor NSO Group
Technologies in possible hacks on American residents and companies as well as suspected
intelligence gathering on governments, according to four people familiar with the inquiry.


The probe was underway by 2017, when Federal Bureau of Investigation oﬃcials were trying to
learn whether NSO obtained from American hackers any of the code it needed to infect
smartphones, said one person interviewed by the FBI then and again last year.


NSO said it sells its spy software and technical support exclusively to governments and that
those tools are to be used in pursuing suspected terrorists and other criminals. NSO has long
maintained that its products cannot target U.S. phone numbers, though some cybersecurity
experts have disputed that.


The FBI conducted more interviews with technology industry experts after Facebook ﬁled a
lawsuit in October accusing NSO itself of exploiting a ﬂaw in Facebook’s WhatsApp messaging
service to hack 1,400 users, according to two people who spoke with agents or Justice
Department oﬃcials.


NSO said it was not aware of any inquiry.
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“We have not been contacted by any U.S. law enforcement at all about any such matters,” NSO
said in a statement provided by Mercury Public Aﬀairs strategy ﬁrm. NSO did not answer
additional questions about its employees conduct but previously said government customers
are the ones who do the hacking.


A spokeswoman for the FBI said the agency “adheres to DOJ’s policy of neither conﬁrming nor
denying the existence of any investigation, so we wouldn’t be able to provide any further
comment.”


Reuters could not determine which suspected hacking targets are the top concerns for
investigators or what phase the probe is in. But the company is a focus, and a key issue is how
involved it has been in speciﬁc hacks, the sources said.


Part of the FBI probe has been aimed at understanding NSO’s business operations and the
technical assistance it oﬀers customers, according to two sources familiar with the inquiry.


Suppliers of hacking tools could be prosecuted under the Computer Fraud and Abuse Act
(CFAA) or the Wiretap Act, if they had enough knowledge of or involvement in improper use,
said James Baker, general counsel at the FBI until January 2018.


The CFAA criminalizes unauthorized access to a computer or computer network, and the
Wiretap Act prohibits use of a tool to intercept calls, texts or emails.


NSO is known in the cybersecurity world for its “Pegasus” software other tools that can be
delivered in several ways. The software can capture everything on a phone, including the plain
text of encrypted messages, and commandeer it to record audio.


A business strategy ﬁrm retained on behalf of Amazon.com Inc Chief Executive Jeﬀ Bezos, FTI
Consulting, said this month that NSO could have supplied the software it said Saudi Arabia
used to hack Bezos’ iPhone.


The phone began sending out more data hours after it received a video from a WhatsApp
account associated with Crown Prince Mohammed bin Salman, FTI said. Saudi Arabia called
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the FTI allegation “absurd,” and NSO said it was not involved. Other security experts said the
data was inconclusive.


The FBI is investigating and has met with Bezos, a member of his team told Reuters. A Bezos
spokesman did not respond to a request for comment.


FBI leaders have indicated that they are taking a hard line on spyware vendors.


At a brieﬁng at FBI Washington headquarters in November, a senior cybersecurity oﬃcial said
that if Americans were being hacked, investigators would not distinguish between criminals
and security companies working on behalf of government clients.


“Whether you do that as a company or you do that as an individual, it’s an illegal activity,” the
oﬃcial said.


In the counterintelligence aspect of the probe, the FBI is trying to learn if any U.S. or allied
government oﬃcials have been hacked with NSO tools and which nations were behind those
attacks, according to a Western oﬃcial briefed on the investigation.


Outside of government, journalists, human rights activists and dissidents in several countries
have been victims of attacks using NSO spyware, according to the University of Toronto’s
Citizen Lab researchers.


In the past, NSO has denied involvement in some of those instances and declined to discuss
others, citing client conﬁdentiality requirements.


Reporting by Joseph Menn in San Francisco and Jack Stubbs in London; additional reporting by Raphael
Satter and Chris Bing in Washington; editing by Greg Mitchell and Grant McCool
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